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   EXHIBIT 1
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                                                           THE HONORABLE THOMAS S. ZILLY
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 8                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WASHINGTON
 9                                     AT SEATTLE

10
     HUNTERS CAPITAL, LLC, a Washington                Case No. 2:20-cv-00983 TSZ
11   limited liability company, et al., on behalf of
     themselves and others similarly situated,         PLAINTIFF HUNTERS CAPITAL, LLC’S
12                                                     FOURTH SET OF REQUESTS FOR
                                  Plaintiffs,          PRODUCTION TO DEFENDANT CITY OF
13
                                                       SEATTLE
14          vs.

15   CITY OF SEATTLE,
                                  Defendant.
16

17           Pursuant to Fed. R. Civ. P. 26 and 34, Plaintiff HUNTERS CAPITAL, LLC, a

18   Washington limited liability company, by its undersigned attorneys, hereby propounds the

19   following requests for production to Defendant, City of Seattle (“Defendant” or the “City”).

20   Defendant shall respond to these requests for production within thirty (30) days of service.

21   Responses and produced documents are to be served to Calfo Eakes LLP, 1301 Second Avenue,

22   Suite 2800, Seattle, WA 98101. The requests below are continuing and impose upon Defendant

23   the obligations stated in Fed. R. Civ. P. 26.

24

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                                                                                    LAW OFFICES
     PLAINTIFF HUNTER CAPITAL, LLC’S FOURTH                                      CALFO EAKES LLP
27   SET OF REQUESTS FOR PRODUCTION TO                                   1301 SECOND AVENUE, SUITE 2800
                                                                       SEATTLE, WASHINGTON 98101-3808 TEL
     DEFENDANT CITY OF SEATTLE                                           (206) 407-2200 FAX (206) 407-2278
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 1          16.     “SPD” refers the Seattle Police Department, a division of Defendant.

 2          17.     “SFD” refers the Seattle Fire Department, a division of Defendant.

 3          18.     “SDOT” refers the Seattle Department of Transportation, a division of Defendant.

 4          19.     “SPU” refers to Seattle Public Utilities, a division of Defendant.

 5

 6                             III.    REQUESTS FOR PRODUCTION

 7          REQUEST FOR PRODUCTION NO. 45:

 8          All documents from June 2020 to December 2020 regarding the safety or condition of, and

 9   encampments in, or gatherings of protestors in Cal Anderson Park and any plan to empty the park

10   and/or adjacent area of encampments or gatherings of protestors. This includes, but is not limited

11   to, all documents related to the “new approach” and Cal Anderson Park discussed by Casey

12   Sixkiller in his October 12, 2021 deposition at pages 208-212.

13   RESPONSE:

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16          REQUEST FOR PRODUCTION NO. 46:

17          All documents regarding the creation, construction, existence of, necessity of, and/or

18   removal of the temporary barrier that was in place near and around the East Precinct from July

19   2020 to approximately April 2021.

20   RESPONSE:

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23          REQUEST FOR PRODUCTION NO. 47:

24          All documents regarding complaints of excessive noise in the CHOP Zone from July 2020

25   through the present in the CHOP zone due to the activities related to or involving encampments in
     PLAINTIFF HUNTER CAPITAL, LLC’S FOURTH                                            LAW OFFICES
                                                                                   CALFO EAKES LLP
     SET OF REQUESTS FOR PRODUCTION TO                                      1301 SECOND AVENUE, SUITE 2800
                                                                            SEATTLE, WASHINGTON 98101-3808
     DEFENDANT CITY OF SEATTLE
27                                                                         TEL (206) 407-2200 FAX (206) 407-2278
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 1   Cal Anderson Park, protests or demonstrations in the CHOP zone, and/or or any enforcement

 2   actions initiated by the City regarding those encampments, protests, or demonstrations.

 3   RESPONSE:

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 6          REQUEST FOR PRODUCTION NO. 48:

 7          All documents dated at any time from June 2020 the present discussing any impacts or

 8   effects CHOP had, or continues to have, on any part of the CHOP Zone.

 9   RESPONSE:

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12          REQUEST FOR PRODUCTION NO. 49:

13          All documents related to any protests, crowds, or large gatherings of people that occurred

14   or originated in, or passed through, the CHOP Zone at any time between July 1, 2020, the present.

15   This includes, but is not limited to, any of the “rolling protests” described by Sam Zimbabwe in

16   his October 28, 2021, deposition at 172-175, all documents regarding applications for or permits

17   granted (or denied) for any marches through the CHOP zone between July 1, 2020, and the present,

18   and any enforcement action by the City to prevent unpermitted marches from occurring for that

19   same area and same time.

20   RESPONSE:

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     PLAINTIFF HUNTER CAPITAL, LLC’S FOURTH                                           LAW OFFICES
                                                                                  CALFO EAKES LLP
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27                                                                        TEL (206) 407-2200 FAX (206) 407-2278
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 1          REQUEST FOR PRODUCTION NO. 50:

 2          All documents related to any temporary blockage of City streets by protesters,

 3   demonstrators, and/or police in the CHOP Zone from July 1, 2020, to the present and police or

 4   other reports of vandalism and property damage done by protesters in the CHOP Zone during the

 5   same time period.

 6   RESPONSE:

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 9          REQUEST FOR PRODUCTION NO. 51:

10          All documents related to, describing, summarizing, or analyzing crimes reported or

11   committed in (1) the CHOP Zone and (2) SPD Beat E2between July 1, 2020, and the present, and

12   any documents showing a comparison of the numbers of crimes reported from 2019 – 2020, and

13   2020 – 2021, organized by category or type of crime committed (for example only, assault,

14   aggravated assault, battery, robbery, burglary, damage to property, sexual assault, rape, homicide).

15   RESPONSE:

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18          REQUEST FOR PRODUCTION NO. 52:

19          All documents related to the analysis discussed by Chief Harold Scoggins in his September

20   14, 2021, deposition at pages 81-86.

21   RESPONSE:

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                                                                                   CALFO EAKES LLP
     SET OF REQUESTS FOR PRODUCTION TO                                      1301 SECOND AVENUE, SUITE 2800
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     DEFENDANT CITY OF SEATTLE
27                                                                         TEL (206) 407-2200 FAX (206) 407-2278
     (Case No. 2:20-cv-00983-TSZ) - 8
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